Case 5:22-cv-00964-JGB-SHK Document 1 Filed 06/08/22 Page 1 of 30 Page ID #:1




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  7
                          UNITED STATES DISTRICT COURT
  8                      CENTRAL DISTRICT OF CALIFORNIA
                               WESTERN DIVISION
  9

 10 AGUSTIN RAMIREZ, ANTHONY               Case No. 2:22-cv-3926
      RAMIREZ and AGUSTIN
 11
      RAMIREZ, JR.                 COMPLAINT FOR:
 12                                1. TRADEMARK
      Plaintiffs,                  COUNTERFEITING
 13
                                   2. INFRINGEMENT OF A
 14   vs.                          REGISTERED MARK
                                   3. VIOLATION OF THE TRUTH
 15
      TICKETÓN ENTERTAINMENT,      IN MUSIC ADVERTISING ACT
 16   L.P., LEONARDO’S HUNTINGTON 4. FALSE DESIGATNION OF
      PARK; BOLETOSEXPRESS.COM;    ORIGIN AND FALSE
 17
      TICKERI, INC.; MISBOLETOS    ADVERTISING, 17 U.S.C. § 1125(a)
 18   ONLINE; EVENTBRITE, INC.;    5. TRADEMARK DILUTION
      BANDSINTOWN GROUP, INC.; SK 6. INTERFRENCE WITH
 19
      ACQUISITION LTD.; CASA LOPEZ PROPSECIVE ECONOMIC
 20   BANQUET HALL; LA SIERRA      ADVANTAGE
      NIGHT CLUB; CASA TEQUILA     7. VILATION OF CAL. BUS. &
 21
      NIGHT CLUB; SILVERADO NIGHT PROF. CODE SECTION 17200
 22   CLUB; STAMPEDE NIGHT CLUB; 8. VIOLATION OF COMMON
      ROCCAPULCO; EL CENTENARIO LAW RIGHT OF PUBLICITY
 23
      V.I.P. NIGHT CLUB; LOS       9. VIOLATION OF CAL. CIVIL
 24   CAMINANTES HN; EL PATRON     CODE SECTION 3344
 25
      RESTAURANT; LA SENSACIÓN;    10. CONTRIBUTORY
      CABALLEROS DE COLON;         TRADEMARK INFRINGEMENT
 26   MIDNITE RODEO; and DOES 1 –
 27
      20, inclusive, Defendants.   JURY TRIAL REQUESTED

 28
                                       COMPLAINT
Case 5:22-cv-00964-JGB-SHK Document 1 Filed 06/08/22 Page 2 of 30 Page ID #:2




  1
                                         INTRODUCTION
  2
          1.          This case is brought to stop – once and for all -- the destruction of
  3
      Plaintiffs’ band trademark, LOS CAMINANTES. Plaintiff Agustin Ramirez, Sr.
  4
      (“Agustin, Sr.”) has been the leader of famed Latin group Los Caminantes for over
  5
      40 years. His sons and co-Plaintiffs Agustin Ramirez, Jr. (“Agustin, Jr.”) and
  6
      Anthony Ramirez (“Anthony”) have been performing members of the band for over
  7
      a decade. Jointly, they have all held a registered trademark in LOS CAMINANTES
  8
      for live musical performances for nine years, and Agustin, Sr. held registered or
  9
      common law rights for decades prior.
 10
          2.          In the last few years, Agustin, Sr.’s life’s work and music have been
 11
      under assault by infringers who include ex-band members, their offspring and third
 12
      parties. Plaintiffs have filed multiple federal lawsuits and obtained injunctions, but,
 13
      following the death of Plaintiffs’ long-time trademark attorney, the infringement by
 14
      rogue live bands has escalated. With their current attorney, Plaintiffs currently have
 15
      two more cases pending in this District and have engaged in enforcement
 16
      proceedings against others, but the infringement continues.
 17
          3.          It is time for this to stop. The Defendants here are all on notice of the
 18
      disputes surrounding LOS CAMINANTES, yet they continue to chip away at the
 19
      name in a manner that appears to be coordinated around the country with different
 20
      infringing groups taking different territories and working across state lines.
 21
                                  JURISDICTION AND VENUE
 22
          4.          Plaintiffs here are members of the famous Latin-American band Los
 23
      Caminantes and own the trademark in LOS CAMINANTES (U.S. Reg. No.
 24
      4,410,019) for live performances by a musical group. The band has been working
 25
      since the early 1980s, and Plaintiff Agustin Ramirez has been involved in multiple
 26
      lawsuits regarding misuse of the band name. A copy of the registration is attached
 27
      as Exhibit A.
 28
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                                              COMPLAINT
Case 5:22-cv-00964-JGB-SHK Document 1 Filed 06/08/22 Page 3 of 30 Page ID #:3




  1       5.       These claims arise under the laws of the United States, particularly
  2 under the Lanham Act, as amended, 15 U.S.C. § 1051 et seq., Cal. Bus. & Prof.

  3 Code § 17200 and California statutory and common law. Jurisdiction is proper under

  4 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331 and 1138(a). Jurisdiction is also proper

  5 pursuant to the Court's supplemental jurisdiction as provided in 28 U.S.C. § 1367.

  6       6.       This Court has specific personal jurisdiction over all of the defendants
  7 as each has purposefully committed, within the state, the acts from which these

  8 claims arise and/or has committed tortious acts outside California, knowing and

  9 intending that such acts would cause injury within the state. On information and

 10 belief, Defendants outside the state were on notice of Plaintiffs’ rights and

 11 intentionally violated those rights by using Plaintiffs’ image(s), voice, trademark,

 12 songs and/or sound recordings to harm residents of this District.

 13       7.       Venue is proper in the United States District Court for the Central
 14 District pursuant to 28 U.S. C. §§ 1391(b) and 1391(c) in that several defendants

 15 reside in this District and transact affairs in this District and because a substantial

 16 part of the events or omissions giving rise to the claims herein occurred within this

 17 District.

 18                                      THE PARTIES
 19       8.       Plaintiff Agustin Ramirez, Sr. is a U.S. citizen and resident of
 20 California.

 21       9.       Plaintiff Anthony Ramirez is a U.S. citizen and resident of California.
 22     10.        Plaintiff Agustin Ramirez, Jr. is a U.S. citizen and resident of
 23 California. Agustin Ramirez, Sr., Anthony Ramirez and Agustin Ramirez, Jr. are

 24 joint owners of the U.S. Trademark Registration No. 4,410,019 for LOS

 25 CAMINANTES in connection with “Entertainment in the nature of live

 26 performances by a musical group” in International Class 41, which has been

 27 renewed and is currently subsisting (the “’019 Registration” or “Mark”). (A true

 28
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                                            COMPLAINT
Case 5:22-cv-00964-JGB-SHK Document 1 Filed 06/08/22 Page 4 of 30 Page ID #:4




  1 and correct copy of the ‘019 Registration and accepted renewal are attached hereto

  2 as Exhibit A.)

  3     11.       Plaintiffs allege on information and belief that defendant Ticketón
  4 Entertainment, L.P. (“Ticketón”) is a California limited partnership having a place

  5 of business at 5757 Wilshire Blvd., Ste. 473, Los Angeles, California 90036.

  6 Ticketón has been informed of Plaintiffs’ rights but continues to sell tickets to

  7 infringing concerts and display the LOS CAMINANTES mark on its webpage. (For

  8 example,see Exhibit E attached hereto, at AR000025 – 26.)

  9     12.       Plaintiffs allege on information and belief that defendant Leonardo’s
 10 Huntington Park (“Leonardo’s) is a business of unknown form having a place of

 11 business at 6616 Wilson Ave., Huntington Park, California. Leonardo’s has booked

 12 both the genuine Los Caminantes and infringing versions of the band and is well

 13 aware of Plaintiffs’ rights. (Exhibit E at AR000033 - 34.)

 14     13.       Plaintiffs allege on information and belief that Defendant
 15 BoletosExpress.com is a ticketing agency based in New York, New York.

 16 (BoletosExpress.com’s uses of the Mark are attached at AR000030 – 32.)

 17     14.       Plaintiffs allege on information and belief that Defendant Tickeri, Inc.
 18 is a Delaware corporation registered with the Secretary of State of California.

 19 (Tickeri, Inc.’s uses of the Mark can be seen at AR00040 – 41.)

 20     15.       Plaintiffs allege on information and belief that MisBoletosOnline is a
 21 ticketing agency located in Tampa, Florida. An example of MisBoletosOnline’s

 22 misuse of the Mark can be seen at AR00035.

 23     16.       Plaintiffs allege on information and belief that Eventbrite, Inc.
 24 (“Eventbrite”) is a Delaware corporation with its principal place of business in San

 25 Francisco, California. An example of Eventbrite’s misuse of the Mark can be seen at

 26 AR00036.

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                                           COMPLAINT
Case 5:22-cv-00964-JGB-SHK Document 1 Filed 06/08/22 Page 5 of 30 Page ID #:5




  1       17.     Plaintiffs allege on information and belief Bandsintown Group, Inc.
  2 (“Bandsintown”) is a Delaware corporation with its principal place of business in

  3 New York, New York. Bandsintown claims to be the “#1 Concert Discovery

  4 Platform - Used by 70M concert-goers” and actively promotes concerts in this

  5 District. An example of Eventbrite’s misuse of the Mark can be seen at AR00037 –

  6 38.

  7       18.     Plaintiffs allege on information and belief that SK Acquisition Ltd. dba
  8 Songkick (“Songkick”) is based in the United Kingdom and owned by Warner

  9 Music Group Corp., a Delaware corporation with its principal place of business in

 10 New York and a corporate presence in this District. An example of Songkick’s

 11 misuse of the Mark can be seen at AR00039. Songkick has also used Plaintiffs’

 12 images without permission.

 13       19.     Plaintiffs allege on information and belief that defendant Casa López
 14 Banquet Hall is a business of unknown form having a place of business in Oxnard,

 15 California. Plaintiffs’ band has played there. On information and belief, Casa

 16 Tequila is aware of Plaintiffs’ trademark rights.

 17       20.     La Sierra Night Club is a California business of unknown form having
 18 a place of business at Panorama City, California. On information and belief, La

 19 Sierra Night Club is aware of Plaintiffs’ trademark rights.

 20       21.     Casa Tequila Night Club is a California business of unknown form
 21 with its principal place of business in Canoga Park, California. Plaintiffs’ band has

 22 played there. On information and belief, Casa Tequila is aware of Plaintiffs’

 23 trademark rights.

 24       22.     Defendant Silverado Nightclub is a nightclub based in Phoenix,
 25 Arizona that has hosted multiple events wrongfully using Plaintiffs’ trademark, as

 26 well as using Plaintiff Agustin, Sr.’s voice and image to promote illegal concerts.

 27 An example of Silverado Nightclub’s misuse of Agustin Ramirez’s image can be at

 28
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                                          COMPLAINT
Case 5:22-cv-00964-JGB-SHK Document 1 Filed 06/08/22 Page 6 of 30 Page ID #:6




  1 AR000027. The video with his voice will be made available in discovery.

  2     23.         Defendant Stampede Night Club is in Aurora, Colorado and has hosted
  3 multiple bands that misuse the LOS CAMINANTES trademark, despite warnings by

  4 Plaintiffs’ counsel. example of Silverado Nightclub’s misuse of Agustin Ramirez’s

  5 image can be at AR000028.

  6     24.         Defendant Roccapulco is a night club based in San Francisco,
  7 California. It has allowed infringing groups to play and has displayed Plaintiffs’

  8 trademark without permission, as can be seen at AR00049 – 50, attached hereto as

  9 Exhibit E.

 10     25.         Defendant El Centenario V.I.P Night Club is a night club located in
 11 Gilroy, California which has routinely let different bands play under the LOS

 12 CAMINANTES mark. Examples of different uses of LOS CAMINATES by El

 13 Centenario V.I.P. Night Club can be seen at AR00042 – 44.

 14     26.         Defendant El Patron Restaurant and Bar is a night club based in
 15 Atlantic City, New Jersey that has hosted concerts by Vicente Ramirez, who is a

 16 resident of California and is performing in violation of an injunction from this

 17 District against using the name “LOS CAMINANATES.” He routinely opens his

 18 concerts with a pre-arranged medley of Plaintiff’s Agustin, Sr.’s music and

 19 recordings. An advertisement for Ramirez’s band playing as “Los Andantes

 20 Caminantes” at El Patron Restaurant can be seen attached hereto at page AR00046

 21 of Exhibit E.

 22     27.         Defendant Los Caminantes HN is a band that has performed and
 23 recorded music using trademarks that are confusingly similar to Plaintiffs’. On

 24 information and belief, the members of Los Caminantes HN change periodically,

 25 especially for live performances. At present, on information and belief, the current

 26 members of Los Caminantes HN are: Martin Navarro, Walter Escobar and Jesus

 27 Baraja.

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                                           COMPLAINT
Case 5:22-cv-00964-JGB-SHK Document 1 Filed 06/08/22 Page 7 of 30 Page ID #:7




  1     28.        Defendant La Sensación is a business of unknown form operating in
  2 Norristown, Pennsylvania. It has booked bands wrongfully using the LOS

  3 CAMINANTES mark and, on information and belief, has used recordings of

  4 Plaintiffs’ music to promote those shows. Examples of different advertisement for

  5 La Sensación are attached hereto as Exhibit E at AR00045 – 46.

  6     29.        Defendant Midnite Rodeo is a business of unknown form operating in
  7 Charlotte, North Carolina. It has booked bands wrongfully using the LOS

  8 CAMINANTES mark and, on information and belief, has used recordings of

  9 Plaintiffs’ music to promote those shows.

 10     30.        Defendant Caballeros De Colon is a business of unknown form
 11 operating in Union City, New Jersey. It has booked bands wrongfully using the

 12 LOS CAMINANTES mark and, on information and belief, has used recordings of

 13 Plaintiffs’ music to promote those shows.

 14     31.        The true names and capacities, whether individual, corporate or
 15 otherwise, of the defendants named herein as Does 1 through 50, inclusive, are

 16 presently unknown to Plaintiffs, who therefore sue said defendants by such fictitious

 17 names. Plaintiffs will seek to amend this complaint to allege the true names and

 18 capacities of said defendants when he has ascertained such information. Plaintiffs

 19 are informed and believe that each defendant named herein as Does 1 through 10

 20 has participated in some or all of the acts or conduct alleged in this Complaint and is

 21 liable to Plaintiffs by reason thereof.

 22     32.        Plaintiffs are informed and believe that defendants DOES 1-20 are
 23 musicians, agents, and/or others in the entertainment industry engaging in acts

 24 infringing upon and dilulting plaintiffs’ marks in cooperation with or at the direction

 25 of each other to perform the services which infringe upon and dilute plaintiff’s

 26 mark, as alleged below.

 27                   THE LOS CAMINANTES NAME AND MARK
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                                              COMPLAINT
Case 5:22-cv-00964-JGB-SHK Document 1 Filed 06/08/22 Page 8 of 30 Page ID #:8




  1     33.       In the mid-1970’s, Plaintiff Agustin Ramirez founded the musical
  2 group “Los Caminantes Aztecas” (“The Aztec Walkers”) in the city of

  3 Bloomington, California. In or about 1982 the band became simply “Los

  4 Caminantes.” The initial members of the group were plaintiff Agustin Ramirez and

  5 his brothers Brigido Ramirez, Horacio Ramirez and Bernardo Ramirez.

  6 From the inception of the group, plaintiff Agustin Ramirez has been the lead

  7 vocalist of the group.

  8     34.       During the 1980s and 1990s, Los Caminantes recorded approximately
  9 26 albums for Luna Records/Luna Music, with plaintiff Agustin Ramirez as lead

 10 vocalist. Los Caminantes toured extensively throughout the United States and

 11 Mexico, performing in dances, concerts and massive outdoor events.

 12     35.       Later, Martin Ramirez died in an auto accident and Brigido and
 13 Horacio Ramirez each withdrew from the group. Brigido released his rights in Los

 14 Caminantes in January, 1991. On July 20, 1996, Horacio Ramirez signed away his

 15 interest of Los Caminantes. At the close of 1996, the only remaining partners of the

 16 Los Caminantes musical group were plaintiff Agustin Ramirez and drummer

 17 Humberto Navarro.

 18     36.       As can be seen by the sampling of album covers by Los Caminantes
 19 attached hereto as Exhibit C, for decades the group has used a consistent font, often

 20 in yellow or gold, to identify its music. The album covers almost all feature a

 21 photograph of Agustin Ramirez, Sr.

 22     37.       Luna Records/Luna Music obtained U.S. Trademark Reg. No.
 23 1,813,538 in 1993 for LOS CAMINANTES in International Class 009 for a “series

 24 of phonograph records, pre-recorded audio cassette tapes and pre-recorded compact

 25 discs, all featuring music,” Ser. No. 74/372907. The registration was cancelled in

 26 October 2004.

 27     38.       In 2005, the attorney for Plaintiff Agustin Ramirez, Sr. and Humberto
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                                               7
                                          COMPLAINT
Case 5:22-cv-00964-JGB-SHK Document 1 Filed 06/08/22 Page 9 of 30 Page ID #:9




  1 Navarro filed for registration of the trademark LOS CAMINANTES in the name of

  2 “Los Caminantes Partnership, composed of Humberto Navarro and Agustin

  3 Ramirez.” This registration issued on August 15, 2006 as Registration No.

  4 3,129,214. That registration expired on or about February 15, 2012.

  5     39.       In 2010, Plaintiff Agustin Ramirez, Jr. began playing guitar with Los
  6 Caminantes. Plaintiff Anthony Ramirez began playing drums with Los Caminantes

  7 in 2011.

  8     40.       Drummer Humberto Navarro passed away in 2011. On information
  9 and belief, he and Agustin, Sr. were the only partners in the Los Caminantes

 10 partnership. Following Humberto’s death, the partnership ceased immediately

 11 under California law.

 12     41.       On October 30, 2012, Plaintiffs filed an application to register LOS
 13 CAMINANTES, which application issued to the ‘019 Registration on October 1,

 14 2013 (Exhibit A.) Plaintiffs here kept playing live. Examples of legitimate LOS

 15 CAMINANTES concert posters are and advertisements are attached hereto as

 16 Exhibit D.

 17     42.       Humberto Navarro’s son Martin Navarro began his own band in
 18 September, 2011. He later formed a corporation called “Los Caminantes Inc.” and

 19 filed U.S. Trademark App. Ser. No. 85829084 for LOS CAMINANTES INC. On

 20 May 6, 2013 that Application was suspended because of Plaintiffs’ pending

 21 application (above). The Los Caminantes Inc. application was later abandoned.

 22     43.       On August 30, 2016, Martin Navarro filed U.S. Trademark App. No.
 23 87156115 for “Los Caminantes H.N.” (See Exhibit B hereto.) The requested mark

 24 appeared thus:

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                                         COMPLAINT
Case 5:22-cv-00964-JGB-SHK Document 1 Filed 06/08/22 Page 10 of 30 Page ID #:10




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   7     44.         That application was rejected because of likely confusion with
   8 Plaintiffs’ registration. It was abandoned on July 8, 2017

   9
          45.        On July 6, 2018, Martin Navarro filed a trademark application for
  10
       “Los Caminantes H.N”. That application was given Ser. No. 88/028681. It also
  11
       received an Office Action, finding confusion with Plaintiffs’ LOS CAMINANTES
  12
       registration. (See Exhibit B.) It was abandoned on July 7, 2019.
  13

  14     46.         On the copyright side of his legacy, Agustin Ramirez, Sr. has also been

  15 the victim of rampant identity theft and conversion of royalties. A recent

  16 investigation of a crime ring by the U.S. Attorney for the District of Arizona

  17 determined that a ring of imposters had stolen over $20 million in streaming

  18 revenues from Latin groups, and Los Caminantes was one of the largest victims.

  19 See “Federal Indictment Alleges "YouTube Thieves" Scammed Music Artists Out of

  20 More Than $20 Million,” Phoenix New Times, <

  21 https://www.phoenixnewtimes.com/news/feds-bust-phoenix-man-in-20-million-

  22 youtube-royalties-scam-12663309> (“[Defendants] claimed ownership over songs

  23 like "La Quise Tanto" by Los Caminantes (for which they received over $30,000 in

  24 royalties)”).

  25

  26                               The Subsequent Litigations

  27     47.         Multiple litigations have occurred following the death of Humberto

  28 Navarro. As noted, Humberto Navarro’s son Martin Navarro began playing with a
                                            9
                                             COMPLAINT
Case 5:22-cv-00964-JGB-SHK Document 1 Filed 06/08/22 Page 11 of 30 Page ID #:11




   1 pirate band soon after his father’s death, and, on September 27, 2011, Plaintiffs here

   2 filed suit against Martin Navarro for federal trademark infringement, unfair

   3 competition and related claims. Navarro answered and counterclaimed. The parties

   4 later dismissed all claims without prejudice soon thereafter, ostensibly because

   5 Judge Real set trial so early that the parties could not prepare.

   6     48.        In 2013, Plaintiffs filed suit against former Los Caminantes member
   7 Mario Sotelo, Agustin Ramirez, Anthony Ramirez, Agustin Ramirez, Jr. v. Mario

   8 Sotelo, USDC Cent. Dist. Cal., Case No. 5:13-cv-002155-SJO (MRO). In that case,

   9 the District Court entered an injunction against Sotelo’s use of the mark LOS

  10 CAMINANTES. On December 5, 2014, the Ninth Circuit upheld that ruling in

  11 Case. No. 14-55571.

  12     49.        In 2017, Plaintiffs filed suit against Vicente Martinez, a singer who
  13 began singing in Martin Navarro’s version of Los Caminantes. Plaintiffs filed

  14 against him and Juan Manuel Navarro (“JM Navarro”), a promoter. That case was

  15 styled Agustin Ramirez, Anthony Ramirez and Agustin Ramirez, Jr. v. Vicente

  16 Martinez and Juan Manuel Navarro, U.S. Dist. Court, Cent. Dist. of Cal., Case No.

  17 5:2017-cv-0221-FMO (GJSx).

  18     50.        Following a Motion for Default Judgment and Motion for Summary
  19 Judgment, Judge Olguin on August 19, 2019 entered a Judgment on behalf of

  20 Plaintiffs, ordering that Navarro pay $77,654.00 in damages and fees and enjoining

  21 Navarro from: “using the LOS CAMINANTES mark or trade name alone or in

  22 combination with any other word or symbols. . . which would be likely to cause

  23 confusion, deception of mistake, or [in advertising.” Navarro was also enjoined

  24 from contacting promoters for the purpose of offering the services of Los

  25 Caminantes and using any mark or business identifying, or “acting in any fashion”

  26 that would represent that he is providing goods and services that are authorized by

  27 Los Caminantes.

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                                            COMPLAINT
Case 5:22-cv-00964-JGB-SHK Document 1 Filed 06/08/22 Page 12 of 30 Page ID #:12




   1      51.       In early 2020, Plaintiffs’ longtime attorney Steve Eyre suddenly passed
   2 away. Plaintiffs were left with no representation, and, coincidentally, Agustin, Sr.’s

   3 health began to suffer. Wrongful use of LOS CAMINANTES for live musical

   4 performances quickly compounded. Attached hereto as Exhibit E are multiple

   5 examples of wrongful uses of LOS CAMINANTES around the United States.

   6 Plaintiffs’ present counsel was retained in late September, 2020.

   7
          52.       Plaintiffs’ present counsel soon sent out multiple letters to nightclubs
   8
       that were wrongfully using the LOS CAMINANTES mark. The origins of the
   9
       wrongful uses appeared to be Mario Sotelo (performing mainly in the Southeast),
  10
       Vicente Martinez (performing in the Northeast and Texas) and Martin Navarro
  11
       (performing nearly everywhere in the United States). Sotelo and Martinez already
  12
       had injunctions against them, so Navarro was sued after none of the clubs responded
  13
       to cease and desist letter. In November, 2020, Plaintiffs filed Agustin Ramirez et al.
  14
       v. Martin Navarro et al., Case No. 5:20-cv-2408-FLA-SP. That case has proceeded
  15
       through discovery and summary judgment will be heard on July 15, 2022.
  16
          53.       Because the lawsuit against Martin Navarro was not slowing down the
  17
       infringement, Plaintiff filed another suit against certain venues and promoters, after
  18
       first sending out another round of cease and desist letters that went unanswered.
  19
       That suit is Agustin Ramirez et al. v. Martin Navarro et al., Case No.
  20
       2:21−cv−04732 ODW (GJSx). Plaintiffs asked that the two cases be related, but the
  21
       request was denied. Juan Manuel Navarro answered, but the remaining Defendants
  22
       were either defaulted or dismissed.
  23
                                   Defendants’ Wrongful Acts
  24
          54.       In this case, Plaintiff brings suit against clubs, ticket agencies,
  25
       advertisers and the band “Los Caminantes HN” who all continue to infringe the
  26
       LOS CAMINANTES trademarks. Examples of this infringement are seen in Exhibit
  27
       E hereto. Several of these Defendants have been contacted by either Plaintiffs’
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                                                  11
                                             COMPLAINT
Case 5:22-cv-00964-JGB-SHK Document 1 Filed 06/08/22 Page 13 of 30 Page ID #:13




   1 counsel or their manager Hector Arambula. On information and belief, the

   2 infringement of the LOS CAMINANTES mark is now well known in the industry

   3 and rises to the level of counterfeiting or willful infringement of a registered mark.

   4 As would be expected, even when bands use slightly different marks like “Los

   5 Andantes Caminantes” or “Los Caminantes HN”, third parties continue to use “Los

   6 Caminantes.”

   7     55.       For example, Defendant Ticketón Entertainment’s website recently
   8 promoted a concert on June 10, 2022 at the nightclub of Defendant Roccapulco:

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            Detail shows blatant infringement and counterfeiting of the LOS
  25
       CAMINANTES mark:
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                                            COMPLAINT
Case 5:22-cv-00964-JGB-SHK Document 1 Filed 06/08/22 Page 14 of 30 Page ID #:14




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          56.       Similar infringements or counterfeiting exist for other Defendants. For
   7
       instance, Tickeri.com, a ticket broker in North Carolina shows the following for
   8
       searches of “CAMINANTES”:
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                                            COMPLAINT
Case 5:22-cv-00964-JGB-SHK Document 1 Filed 06/08/22 Page 15 of 30 Page ID #:15




   1
       Another example is Eventbrite (New York):

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  12        Songkick, based in San Francisco, is promoting a pirate band using Plaintiffs’
  13 images:

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  27      57.      Notably, none of the events showing in Paragraphs 53 – 54 are for

  28 Plaintiffs’ group.
                                               14
                                          COMPLAINT
Case 5:22-cv-00964-JGB-SHK Document 1 Filed 06/08/22 Page 16 of 30 Page ID #:16




   1     58.       Further, several Defendants have used photographs of Plaintiffs or
   2 original music by performed by Plaintiffs as an enticement to bring patrons in to see

   3 illegal groups.

   4     59.       All of the Defendants here know or should have known that any band
   5 purporting to be LOS CAMINANTES that does not include Agustin Ramirez, Sr. or

   6 his sons is not the actual Los Caminantes. Prior to 2020, Plaintiffs filed three

   7 federal lawsuits and obtained injunctions and default judgments against individuals

   8 who are well-known in this area of commerce. For instance, Plaintiffs have a

   9 default judgment and injunction against JM Navarro, enjoining JM Navarro for

  10 using the LOS CAMINANTES name in any manner. Martin Navarro, of LOS

  11 CAMINANTES HN, testified recently in deposition that he was socializing with JM

  12 Navarro at a recent LOS CAMINANTES concert in Colorado that was part of a

  13 package tour organize by JM Navarro, clearly in violation of the injunction. Martin

  14 Navarro also said he spoke with Mario Sotelo (who also has an injunction against

  15 him) around New Years Eve, 2022.

  16     60.       Further, on information and belief, after Plaintiffs’ counsel wrote to
  17 Ticketon to demand they stop infringing, JM Navarro boasted that it was “too late”

  18 because he had already received $30,000 in payments for the package tour.

  19     61.       Confusion has been further heighted by the fact that LOS
  20 CAMINANTES HN has re-released recordings under that name, which is a

  21 trademark that is confusingly similar to LOS CAMINANTES. Examples of these

  22 recordings are seen in Exhibit E hereto at AR00047 – 49.

  23     62.       Plaintiffs have been severely damaged by the acts of Defendants. The
  24 price they can charge per concert had decreased by at least $3,000 per concert.

  25 Plaintiffs have also expended resources posting corrective advertising videos and

  26 have recorded live performances to post and ensure that their brand remains active.

  27 See: https://www.loscaminantesmusica.com/social-media.

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                                            COMPLAINT
Case 5:22-cv-00964-JGB-SHK Document 1 Filed 06/08/22 Page 17 of 30 Page ID #:17




   1                             FIRST CLAIM FOR RELIEF
   2                      (Federal Counterfeiting – 15 U.S.C. § 1114)
   3     63.        Plaintiffs reallege and incorporate into this claim the allegations in
   4 Paragraphs 1 – 62, above.

   5     64.        Plaintiffs own a registered mark in LOS CAMINANTES, and the
   6 registration remains active. (Exh. A.)

   7     65.        All Defendants in this matter are using LOS CAMINANTES to
   8 promote performances of a musical band. The mark used by the counterfeit

   9 defendants is identical or virtually identical to LOS CAMINANTES, as shown in

  10 Exhibit E hereto.

  11     66.        On information and belief, the counterfeit Defendants were aware of
  12 Plaintiffs’ mark for one of several possible reasons: either they were contacted by

  13 counsel and asked to cease and desist; or they were contacted by Plaintiffs’

  14 manager; or they were generally aware of the disputes over the name LOS

  15 CAMINANTES.

  16     67.        15 U.S.C. Section 1117(c) provides that, because of the Counterfeit
  17 Defendants’ willful counterfeiting, Plaintiffs are to elect statutory or actual damages.

  18 Statutory damages should be assessed in an amount of not less than $1,000 or more

  19 than $200,000 per counterfeit mark per type of goods or services sold, offered for

  20 sale, or distributed, as the court considers just. If the Court finds the counterfieiting

  21 to be willful, Plaintiffs shall be entitled to damages of not more than $2,000,000 per

  22 counterfeit mark per type of goods or services sold. Plaintiffs are also entitled to

  23 attorneys fees.

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                                              COMPLAINT
Case 5:22-cv-00964-JGB-SHK Document 1 Filed 06/08/22 Page 18 of 30 Page ID #:18




   1                        SECOND CLAIM FOR RELIEF
   2           (Infringement of a Registered Mark, 15 U.S.C. § 1114 – Against All
   3                                      Defendants)
   4     68.       Plaintiffs reallege and incorporate into this claim the allegations in
   5 Paragraphs 1 – 62, above.

   6     69.       Continuously since at least 1983 Plaintiff Agustin Ramirez has used
   7 the mark LOS CAMINANTES to identify his goods and services and to distinguish

   8 them from those made and sold by others, by, among other things, prominently

   9 displaying the mark LOS CAMINANTES on the recordings, marquees, posters and

  10 displays associated therewith. The registration in that mark is now held by the three

  11 Plaintiffs.

  12     70.       Defendants have infringed Plaintiffs’ mark in interstate commerce by
  13 various acts, including playing concerts using the mark LOS CAMINANTES or

  14 confusingly similar marks. Said use of said names and marks by defendant is

  15 without permission or authority of plaintiffs and said use by defendants is likely to

  16 cause confusion, to cause mistake and to deceive.

  17     71.       Defendants have displayed or authorized the display of counterfeit
  18 marks displaying LOS CAMINANTES.

  19     72.       Defendants’ heretofore alleged acts of trademark infringement and
  20 unfair competition have been committed with the intent to cause confusion, mistake

  21 and to deceive. Defendants all have worked with Plaintiffs or are aware of the

  22 famous LOS CAMINANTES name.

  23     73.       For each act made in violation of §1114(a), Plaintiffs are entitled to
  24 recover actual damages as well as Defendants’ profits from such infringement,

  25 including, according to proof, corrective advertising.

  26     74.       Plaintiffs are entitled to treble damages and prejudgment interest under
  27 15 U.S.C. ¶ 1117.

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                                            COMPLAINT
Case 5:22-cv-00964-JGB-SHK Document 1 Filed 06/08/22 Page 19 of 30 Page ID #:19




   1      75.       Plaintiffs are informed and believe that the acts of Defendants
   2 complained of herein were undertaken willfully and with the intention of causing

   3 confusion, mistake or deception and that they are entitled to disgorgement.

   4

   5
                                    THIRD CLAIM FOR RELIEF
                     (Violation of California Bus. & Prof. Code § 17537.12
   6
                    Against All Defendants Residing In California, Including Los
   7
       Caminantes HN, Casa Lopez, La Sierra Night Club, Casa Tequila Night Club,
   8
       Leonardo’s Huntington Park, Roccapulco, El Centenario V.I.P Night Club and
   9
                                    Ticketon Entertainment)
  10
          76.       Plaintiffs reallege and incorporate into this claim the allegations in
  11
       Paragraphs 1 – 62, above.
  12
          77.       This claim is for violation of California Business and Professions Code
  13
       section 17537.12, which states that no person “shall advertise or conduct a live
  14
       musical performance or production through the use of a false, deceptive, or
  15
       misleading affiliation, connection, or association between a performing group and a
  16
       recording group” unless certain exceptions apply.
  17
          75.       The Navarro-led “LOS CAMINANTES HN” is performing group
  18
       because it seeks to use the name of Plaintiffs’ group, which has used the similar
  19
       name.
  20
          76.       LOS CAMINANATES is a “recording group” under the statute
  21
       because Agustin Ramierz, Sr., Agustin Ramirez, Jr. and Anthony Ramirez have
  22
       released a commercial sound recording as using LOS CAMINANTES and the
  23
       members have a legal right under the group name by virtue of use or operation
  24
       without having abandoned the name or affiliation with the group.
  25
          77.       The following venues and broker are aware or should be aware that the
  26
       performing group does not have a legal right to perform under Los Caminantes: (i)
  27
       Roccapulco; (ii) Leonardo’s Huntington Park (iii) Casa López Banquet Hall (iv) La
  28
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                                             COMPLAINT
Case 5:22-cv-00964-JGB-SHK Document 1 Filed 06/08/22 Page 20 of 30 Page ID #:20




   1 Sierra Night Club; (v) Casa Tequila Night Club; (vi) El Centenario V.I.P. Night

   2 Club; and (viii) and Ticketon Entertianment.

   3     78.       Plaintiffs have lost revenue as a result of the unfair business practices
   4 of Defendants, with such damage cause by, without limitation, lower prices that can

   5 be charged by Plaintiffs and the diminution of value to the LOS CAMINANTES

   6 name.

   7     79.       Pursuant to Bus. & Prof. Code § 17537.12 and § 17200, Plaintiffs here
   8 are entitled to injunctive relief against further wrongful use of their name within the

   9 State of California, and they are entitled to disgorgement of profits and restitution,

  10 as provided by law.

  11

  12                           FOURTH CLAIM FOR RELIEF
  13      (False designation of origin and false advertising Against All Defendants
  14                                  15 U.S.C. § 1125(a).)
  15     80.       Plaintiffs reallege and incorporate into this claim the allegations in
  16 Paragraphs 1 – 62, above.

  17     81.       This claim for relief arises under 15 U.S.C. § 1125(a) and is alleged
  18 against all Defendants.

  19     75.       Plaintiffs are the owners of the mark LOS CAMINANTES or are
  20 entitled to sole use and ownership of the business, goodwill, trademark and service

  21 mark of LOS CAMINANTES.

  22     76.       None of the defendants named herein have any claim or colorable right
  23 to utilize the name LOS CAMINANTES without Plaintiffs’ permission either in

  24 connection with the live performances or sound recordings of LOS CAMINANTES.

  25 Two applications using variations on LOS CAMINANTES HN have been rejected

  26 by the USPTO for confusion with Plaintiffs’ Mark.

  27     77.       Defendants are using Plaintiffs’ LOS CAMINANTES mark so as to
  28
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                                            COMPLAINT
Case 5:22-cv-00964-JGB-SHK Document 1 Filed 06/08/22 Page 21 of 30 Page ID #:21




   1 cause confusion as to Plaintiffs’ association with, affiliation with, or sponsorship of

   2 the performance of defendants’ musical group. Defendants’ actions have led to

   3 instances of actual confusion by promoters and consumers, including the use of the

   4 LOS CAMINANTES name in advertising and the use by some Defendants of the

   5 image and voice of plaintiff Agustin Ramirez in such advertising.

   6     78.       Defendants’ actions constitute unfair competition, trademark
   7 infringement, false designation of origin and false advertising, all in violation of

   8 section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

   9     79.       Further, Defendant Los Caminantes HN has released re-recorded
  10 music under the name Los Caminantes HN, which his written in a script appearing

  11 similar to Plaintiffs’ Mark.

  12     80.       The actions of Defendants, as alleged herein, have caused damage to
  13 Plaintiff’s reputation and mark.

  14     81.       The actions of Defendants and each of them as herein alleged were and
  15 are intended to cause confusion, have caused confusion, and will continue to cause

  16 confusion unless enjoined.

  17     82.       For each act made in violation of §1125(a) and related to live
  18 performances, Plaintiffs are entitled to recover actual damages as well as

  19 Defendants’ profits from such infringement. Such damages include the loss of gross

  20 revenues for shows that Plaintiffs should have played, and diminished revenues of

  21 $3,000 - $5,000 per show that Plaintiffs did play, per Plaintiffs’ manager Hector

  22 Arambula.

  23     83.       Plaintiffs have also engaged in corrective advertising and are entitled
  24 to damages for corrective advertising.

  25     84.       Plaintiffs are entitled to treble damages and prejudgment interest under
  26 15 U.S.C. ¶ 1117.

  27     85.       Plaintiffs are informed and believe that the acts of Defendants
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                                            COMPLAINT
Case 5:22-cv-00964-JGB-SHK Document 1 Filed 06/08/22 Page 22 of 30 Page ID #:22




   1 complained of herein were undertaken willfully and with the intention of causing

   2 confusion, mistake or deception.

   3     86.        Monetary relief alone is not adequate to address fully the irreparable
   4 injury that defendants’ illegal actions have caused and will continue to cause

   5 Plaintiffs if defendants’ actions are not enjoined. Plaintiffs therefore are also entitled

   6 to preliminary and permanent injunctive relief to stop the ongoing acts of unfair

   7 competition and other violations by Defendants and anyone acting in concert with

   8 them.

   9                                FIFTH CLAIM FOR RELIEF
  10                       (Trademark Dilution – Against all Defendants)
  11     87.        Plaintiffs reallege and incorporate into this claim the allegations in
  12 Paragraphs 1 – 62, above.

  13     88.        This claim for relief arises under section 43(c) of the Lanham Act, 15
  14 U.S.C. § 1125(c) and is alleged against all Defendants.

  15     89.        Plaintiffs are the owner of the mark LOS CAMINANTES or are
  16 entitled to sole use and ownership of the business, goodwill, trademark and service

  17 mark of LOS CAMINANTES.

  18     90.        The trade name and mark LOS CAMINANTES has become famous
  19 throughout the United States, through use in the advertising of the musical group’s

  20 services, through airplay, record sales, appearances of the musical group on

  21 broadcast television in Mexico, the United States and Central America newspaper

  22 and magazine articles concerning the group, and through public appearances at

  23 dances and events. Indeed, in a recent fraudulent scheme to steal millions of dollars

  24 in streaming revenue (as uncovered by the U.S. Attorney in Arizona) Los

  25 Caminantes was found to be one of the most played Latin bands in the action.

  26 Accordingly, it is entitled to protection under § 1125(c).

  27     91.        Defendants’ unauthorized use of Plaintiff’s trade name and mark does
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                                             COMPLAINT
Case 5:22-cv-00964-JGB-SHK Document 1 Filed 06/08/22 Page 23 of 30 Page ID #:23




   1 and will dilute the distinctive quality of the trade name and mark and will diminish

   2 and destroy the public association of the trade name and mark with Plaintiffs and

   3 Plaintiffs’ group “Los Caminantes.”

   4     92.        In engaging in the actions complained of above, Defendants and each
   5 of them willfully intended and intend to trade on the reputation of Plaintiff’s musical

   6 group.

   7     93.        In engaging in the actions complained of above, defendants and each
   8 of them have willfully intended to cause dilution of the famous trade name and mark

   9 belonging to Plaintiffs. Plaintiffs’ revenue has decreased by $3,000 to $5,000 per

  10 concert following Defendants’ actions.

  11     94.        For each act violating Plaintiffs’ rights, Plaintiffs are entitled to
  12 recover actual damages as well as Defendants’ profits from such infringement.

  13     95.        Plaintiffs are entitled to treble damages and prejudgment interest under
  14 15 U.S.C. ¶ 1117.

  15     96.        Plaintiffs are informed and believe that the acts of Defendants
  16 complained of herein were undertaken willfully and intentionally by Defendants.

  17     97.       Monetary relief alone is not adequate to address fully the irreparable
  18 injury that Defendants’ illegal actions have caused and will continue to cause

  19 Plaintiffs if Defendants’ acts are not enjoined. Plaintiffs are therefore also entitled to

  20 preliminary and permanent injunctive relief to stop Defendants’ ongoing violations

  21 as well as those of anyone acting in concert with them.

  22

  23                                 SIXTH CLAIM FOR RELIEF
  24             (Interference with Prospective Business Advantage -- Against All
  25                                        Defendants)
  26     98.        Plaintiffs reallege and incorporate into this claim the allegations in
  27 Paragraphs 1 – 62, above.

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                                             COMPLAINT
Case 5:22-cv-00964-JGB-SHK Document 1 Filed 06/08/22 Page 24 of 30 Page ID #:24




   1     80.       This claim for relief arises under the common law of the State of
   2 California and is alleged against all defendants.

   3     81.       Defendants and each of them, through their actions, have interfered
   4 with the prospective business advantage of Plaintiffs by interfering with the right of

   5 Plaintiffs to exploit and benefit commercially from the trade name and mark of

   6 Plaintiffs and Plaintiffs’ musical group and the goodwill of the business of

   7 Plaintiffs’ musical group.

   8     82.       Plaintiffs have been damaged by the tortious interference by defendants
   9 and each of them with Plaintiffs’ economic relations in an amount to be alleged by

  10 amendment to this Complaint.

  11     83.       The aforementioned acts of Defendants were and are willful,
  12 oppressive and malicious. Plaintiffs therefore should be awarded punitive damages

  13 in an amount to be alleged by amendment to this Complaint.

  14

  15                              SEVENTH CLAIM FOR RELIEF
  16                           (CAL. BUS. & PROF. CODE § 17200)
  17     99.       Plaintiffs reallege and incorporate into this claim the allegations in
  18 Paragraphs 1 – 62, above.

  19     84.       This claim for relief arises under the laws of the State of California and
  20 is alleged against all defendants.

  21     85.       Business and Professions Code section 17200 et seq. (the Unfair
  22 Competition Law or UCL”) prohibits any lawful, unfair or fraudulent business act or

  23 practice, any unfair deceptive, untrue or misleading advertising, and any violation of

  24 Business and Professions Code section 17500 et seq.

  25     86.       Defendants violated the UCL by engaging in unlawful, unfair, and
  26 fraudulent business acts or practices, including by not limited to: (a) knowingly and

  27 intentionally inducing the public to believe that LOS CAMINANTES were playing

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                                            COMPLAINT
Case 5:22-cv-00964-JGB-SHK Document 1 Filed 06/08/22 Page 25 of 30 Page ID #:25




   1 at their live performances; and (b) by making or disseminating false, misleading or

   2 deceptive statements to the public indicating that Defendants have the right to

   3 perform using the LOS CAMINANTES trademark.

   4

   5                              EIGHTH CLAIM FOR RELIEF
   6   (Common Law Appropriate of Name or Likeness against Silverado Nightclub,
   7           Caballeros de Colon, El Patron, Midnite Rodeo, and Songkick)
   8    100.       Plaintiffs reallege and incorporate into this claim the allegations in
   9 Paragraphs 1 – 62, above.

  10     87.      Defendants Silverado Nightclub, Midnight Rodeo, El Patron,
  11 Caballeros De Colon and Songkick (the “Publicity Defendants”) used Agustin

  12 Ramirez, Sr.’s photograph or voice in promoting concerts.

  13     88.      Agustin Ramirez, Sr. did not consent to that use.
  14     89.      The Publicity Defendants gained a commercial benefit from that use.
  15     90.      Agustin Ramirez, Sr. was harmed because the use caused his likeness
  16 and voice were associated with an inferior band, and because Defendants are able to

  17 charge less to see their knock-off bands.

  18     91.      Defendants’ conduct was a substantial factor in causing that harm.
  19     92.      Plaintiff Ramirez, Sr. is entitled to damages for loss to his reputation
  20 and lowered pricing caused by the association of his name with an inferior group.

  21     93.      Defendants acts in this Eighth Claim were committed with oppression,
  22 fraud or malice.

  23     94.      As a result of these Defendants’ wrongful acts, Plaintiff is entitled to
  24 compensatory damages as well as punitive damages.

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Case 5:22-cv-00964-JGB-SHK Document 1 Filed 06/08/22 Page 26 of 30 Page ID #:26




   1
                                  NINTH CLAIM FOR RELIEF
   2
            (Violation of Cal. Civ. Code section 3344 against Silverado Nightclub,
   3
                  Caballeros De Colon, El Patron, Midnite Rodeo and Songkick)
   4
         101.        Plaintiffs reallege and incorporate into this claim the allegations in
   5
       Paragraphs 1 – 62, above.
   6
          95.        The Publicity Defendants have knowingly appropriated Plaintiffs’
   7
       images or music to advertise or sell live performances for other bands.
   8
          96.        Plaintiffs did not consent to these uses.
   9
          97.        These uses did not occur in connection with a news, public affairs or
  10
       sports broadcast or account with a political campaign.
  11
          98.        The wrongful uses were directly connected to Defendants’ commercial
  12
       purpose.
  13
          99.        The wrongful acts complained of in this Ninth Claim were undertaken
  14
       with oppression, fraud or malice.
  15
         100.        As a result of these uses by the Defendants in this Ninth Claim,
  16
       Plaintiffs are entitled to statutory damages or actual damages, as well as profits from
  17
       the unauthorized use. Plaintiffs are also entitled to punitive damages and attorneys’
  18
       fees, all under Cal. Civ. Code § 3344.
  19
                                  TENTH CLAIM FOR RELIEF
  20
        (Contributory Trademark Infringement – Against All Defendants except Los
  21
                                           Caminantes H.N.)
  22
          82.        Plaintiffs reallege and incorporate into this claim the allegations in
  23
       Paragraphs 1 – 62, above.
  24
          83.        This claim for relief arises under 15 U.S.C. § 1125(a) and is alleged
  25
       against all Defendants.
  26
         102.        Plaintiffs are the owners of the mark LOS CAMINANTES or are
  27
       entitled to sole use and ownership of the business, goodwill, trademark and service
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                                                   25
                                              COMPLAINT
Case 5:22-cv-00964-JGB-SHK Document 1 Filed 06/08/22 Page 27 of 30 Page ID #:27




   1 mark of LOS CAMINANTES.

   2    103.        None of the defendants named herein have any claim or colorable right
   3 to utilize the name LOS CAMINANTES without Plaintiffs’ permission either in

   4 connection with the live performances or sound recordings of LOS CAMINANTES.

   5 Two applications using variations on LOS CAMINANTES HN have been rejected

   6 by the USPTO for confusion with Plaintiffs’ Mark.

   7    104.        Defendants are using Plaintiffs’ LOS CAMINANTES mark so as to
   8 cause confusion as to Plaintiffs’ association with, affiliation with, or sponsorship of

   9 the performance of defendants’ musical group. Defendants’ actions have led to

  10 instances of actual confusion by promoters and consumers, including the use of the

  11 LOS CAMINANTES name in advertising and the use by some Defendants of the

  12 image and voice of plaintiff Agustin Ramirez in such advertising.

  13    105.        Defendants’ actions constitute unfair competition, trademark
  14 infringement, false designation of origin and false advertising, all in violation of

  15 section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

  16    106.        Defendants knew or should have known that the marks were infringing
  17    107.        Defendants had direct control and monitoring of the venues, marquees
  18 advertising and web pages used to promote the infringing services.

  19    108.        For each act of contributory infringement, Plaintiffs are entitled to
  20 recover actual damages as well as Defendants’ profits from such infringement.

  21 Such damages include the loss of gross revenues for shows that Plaintiffs should

  22 have played, and diminished revenues of $3,000 - $5,000 per show that Plaintiffs

  23 did play, per Plaintiffs’ manager Hector Arambula.

  24    109.        Plaintiffs have also engaged in corrective advertising and are entitled
  25 to damages for corrective advertising.

  26    110.        Plaintiffs are entitled to treble damages and prejudgment interest under
  27 15 U.S.C. ¶ 1117.

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                                            COMPLAINT
Case 5:22-cv-00964-JGB-SHK Document 1 Filed 06/08/22 Page 28 of 30 Page ID #:28




   1     111.       Monetary relief alone is not adequate to address fully the irreparable
   2 injury that defendants’ illegal actions have caused and will continue to cause

   3 Plaintiffs if defendants’ actions are not enjoined. Plaintiffs therefore are also entitled

   4 to preliminary and permanent injunctive relief to stop the ongoing acts of unfair

   5 competition and other violations by Defendants and anyone acting in concert with

   6 them.

   7     112.       The nature of the Advertising Defendants’ actions is exceptional and
   8 entitles Plaintiffs to attorneys’ fees.

   9

  10                                           Prayer for Relief
  11                WHEREFORE, Plaintiffs pray for judgment as follows:
  12         1.     An order declaring that Defendants have no rights to use the LOS
  13 CAMINANTES mark;

  14         2.     For an order permanently and preliminarily enjoining the Defendants,
  15 their officers, agents, employees, and those acting in concert or conspiracy with

  16 them from:

  17         a.     Directly or indirectly using, printing, distributing, selling, offering for

  18
       sale, possessing, advertising, performing under, promoting or displaying in any way
       the LOS CAMINANTES mark or any simulation, reproduction, copy or colorable
  19
       imitation of the LOS CAMINANTES mark;
  20
             b.     Making any unauthorized use of the LOS CAMINANTES mark in such
  21
       a way as to cause confusion, mistake or deception as to the affiliation, connection or
  22
       association of the Defendants as to the origin, sponsorship or approval of Plaintiffs’
  23
       products or services;
  24
             c.     Otherwise infringing Plaintiffs’ rights in and to the LOS
  25
       CAMINANTES mark; and
  26
             d.     Utilizing or displaying the image, likeness or voice of Plaintiffs;
  27

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                                               COMPLAINT
Case 5:22-cv-00964-JGB-SHK Document 1 Filed 06/08/22 Page 29 of 30 Page ID #:29




   1         3.     For an order restraining Defendants’ further dilution of the LOS
   2 CAMINANTES Mark;

   3         4.     For a finding that the Defendants’ acts were undertaken, intentionally,
   4 maliciously and/or with a reckless and wanton disregard of the Plaintiffs’ common

   5
       law trademark rights and rights of publicity and for an award of exemplary damages
       pursuant to California Civil Code section 3294 in an amount sufficient to punish,
   6
       deter, and make an example of Defendants for the acts complained of herein;
   7
             5.     For an award of damages based upon Plaintiffs’ lost profits,
   8
       disgorgement of Defendants’ profits, and the costs of corrective advertising, as well
   9
       as injury to Plaintiffs’ personality and reputation;
  10
             6.     For any enhanced damages pursuant to 15 U.S.C. § 1117.
  11
             7.     For an award of costs, fees and expenses incurred in this action.
  12
             8.     That Plaintiffs be awarded such further legal and equitable relief as the
  13
       Court deems proper.
  14                                                KARISH & BJORGUM, PC
  15          Dated: June 8, 2021
  16

  17                                               By: ___/A. Eric Bjorgum_________
                                                   A. Eric Bjorgum
  18
                                                   Attorneys for Plaintiffs Agustin
  19                                          Ramirez, Anthony Ramirez and Agustin
                                              Ramirez, Jr.
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                                              COMPLAINT
Case 5:22-cv-00964-JGB-SHK Document 1 Filed 06/08/22 Page 30 of 30 Page ID #:30




   1
                               REQUEST FOR JURY TRIAL

   2       Pursuant to Fed.R.Civ.P. 38(b), Plaintiffs hereby request a trial by jury of all
   3 issues raised by the Complaint which are properly triable to a jury.

   4

   5   Dated: June 8, 2022                  KARISH & BJORGUM, PC

   6

   7

   8

   9                                        By: _A. Eric Bjorgum_______
  10                                        A. Eric Bjorgum
  11                                        Attorneys for Plaintiffs Agustin Ramirez,
                                            Anthony Ramirez and Agustin Ramirez, Jr.
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